AO 442 (Rev. HI/I1) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America
V.

) Case: 1:21-mj-00506

Jonathan Davis Laurens ) Assigned To : Harvey, G. Michael

) Assign. Date : 6/28/2021

) Description: COMPLAINT Wi ARREST WARRANT
)

 

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested} Jonathan Davis Laurens .
who is accused of an offense or violation based on the following document filed with the court:

[ Indictment O Superseding Indictment C Information © Superseding Information M&M Complaint
Probation Violation Petition Supervised Release Violation Petition Violation Notice (CT Order of the Court

This offense is briefly described as follows:

18 U.S.C, § 1752(a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds
Without Lawful Authority, and Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
40 U.S.C. § 5104(e)(2)(A), (D) and (G) - Entering and Remaining on the Floor of Congress, Disorderly

Conduct in a Capitol Building and Parading, Demonstrating, or Picketing in a Capitol Buiiding.

Digitally signed by
G, Michael Harvey
Date: 2021.06.29

 

 

Date: 06/29/2021 10:52:14 -04'00'
Issuing officer's signature
City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge

 

 

Printed name and title

 

Return

 

This warrant was received on ‘dare; 6/2 wu / , andthe on was arrested on date} 6 SO / 2
at (city and state) Duluth, GA J
7

Date: Gf 80 Z| ZA Pe

Arresting officer's officer ystgridture

Dun thei eng FEL Speeial Agent

Pr hf name and title

 

 

 
